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             UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF MICHIGAN
                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                  Plaintiff,
            v.                              Case No. 14-20529
                                            Hon. Terrence G. Berg
T. HERBERT FELTON, JR.,

                  Defendant.

          OPINION AND ORDER DENYING
    DEFENDANT’S MOTION FOR NEW TRIAL (DKT. 83)


  I.    Introduction

  Defendant T. Herbert Felton, Jr. was convicted after a five-day

jury trial of Interstate Transportation of Minor to Engage in Crim-

inal Sexual Activity (Count 1 – 18 U.S.C. § 2423(a)); Use of Facility

of Interstate Commerce to Entice a Minor (Count 2 – 18 U.S.C. §

2422(b)); three counts of Manufacturing Child Pornography

(Counts 5, 7 & 9 – 18 U.S.C. § 2251); three counts of Receipt of Child

Pornography (Counts 6, 8 & 10 – 18 U.S.C. § 2252A(a)(2), 18 U.S.C.

§ 2252A(b)(1)); and one count of Possession of Child Pornography

(Count 11 – 18 U.S.C. § 2252A(a)(5)(B), 18 U.S.C. § 2252A(b)(2)).

The guilty verdict was filed by the Clerk on June 23, 2017.
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       On November 15, 2017, Defendant filed a motion for a new trial

(Dkt. 79).1 The main argument presented in Defendant’s motion is

that the Government improperly withheld certain potentially ex-

culpatory evidence. Defendant also argues that cumulative errors

deprived him of a fair trial.

       The Government filed a response to Defendant’s motion (Dkt.

89), and the Court held a hearing on February 23, 2018. For the
reasons set forth below, Defendant’s motion for a new trial is DE-

NIED.

       II.            Background
       The following facts were established at trial. On May 7, 2014,

P.W., then a 14-year-old boy living in Tilton, Illinois was reported

missing (Dkt. 1, Compl. ¶ 1). Video from a nearby bus station
showed him boarding a bus sometime after 11:45 a.m. Id. P.W.’s

father obtained his son’s cell-phone records, and noticed that they

contained calls with an unfamiliar out-of-state number with an

“810” area code. Id ¶ 2. On May 8, 2014, P.W.’s father travelled to

Michigan, and met with a police detective. Id. The detective was

able to trace the unknown 810 telephone number to Defendant, who

was living in Flint, Michigan. Id. Around midnight that same day,

police arrived at Defendant’s home, and located both Defendant and
                                                            
1On November 16, 2017 Defendant filed a corrected motion for a new trial
(Dkt. 83) which removed information included in the first filing that might
have inadvertently identified the minor victim.
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P.W. Id. Defendant was arrested, and P.W. was interviewed by lo-

cal police. This interview was summarized in written notes. The

next day, May 9, 2014, P.W. was interviewed at the Genesee County

Sheriff’s Office. This interview was video-taped. Defendant was

also interviewed by the police, and made a number of admissions.

     Subsequent investigation revealed illicit images of P.W. on De-

fendant’s cell-phone. This discovery led to additional charges in a

superseding indictment for manufacturing, receipt, and possession

of child pornography (Dkt. 53). This case was tried before a jury,

beginning on June 16, 2017. At trial, eleven witnesses testified.
These witnesses included P.W.’s father, two officers from the Gen-

esee County Sheriff’s Department (who interviewed Defendant and

P.W.), a nurse from Hurley Hospital (who examined P.W. shortly
after he was located), P.W. himself, two lab technicians from the

Michigan State Police (who testified, among other things, about

DNA evidence that suggested sexual contact between Defendant

and P.W.), FBI Special Agent Henrik Impola, and a Michigan State

Police forensic examiner (who testified about the electronic data re-

covered from Defendant’s cell phone). P.W. testified that he met
Defendant online and over a period of time sent Defendant a num-

ber of sexually explicit images of himself and that the two of them

engaged in “phone sex.” Eventually, P.W. testified, Defendant trav-
eled to P.W.’s town in Illinois, met him and took him by bus and

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train to Defendant’s home in Flint, Michigan, where Defendant

then provided P.W. with alcohol and marijuana and they engaged

in sexual intercourse. Defendant was convicted on all counts.

       In his motion for a new trial, Defendant argues that “[a]fter the

[Presentence Report] PSR was generated, the Defense discovered it

contained information, previously unknown to the Defense, that

P.W. used ‘Naughtymeetings.com’ to initially communicate with

Mr. Felton.” (R. 83: Defendant’s Brief at p. 8). The Government

correctly points out, however, that this information was initially

disclosed on June 5, 2014, in the affidavit filed with the criminal
complaint. Paragraph 7 of the affidavit provides in part that “the

chat rooms PW and Felton communicated in were rooms associated

with sexual encounters, i.e. ‘naughtymeetings.com’” (Dkt. 1: Com-
plaint).

       Defendant next complains that he should have received a copy of

“police reports” prepared by FBI Special Agent India Jones.2 He



                                                            
2 Special Agent Jones served as the original case agent for this matter. In
March 2015, S/A Jones was transferred to the Sacramento, California FBI of-
fice. S/A Jones submitted a declaration stating that she never formally inter-
viewed P.W., and only had one brief conversation with him at the Genesee
County Sheriff’s Department, which consisted of introducing herself, and tell-
ing P.W. that he had not done anything wrong. She also told P.W. that the FBI
would like to schedule a forensic interview, which was later conducted (not by
S/A Jones), and videotaped. This taped interview was provided to the defense.
S/A Jones did not testify at Defendant’s June 2017 trial. Rather, the new case
agent – FBI S/A Henrik Impola – testified.
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claims that the reports contain newly discovered evidence includ-

ing: (1) details of dating websites (naughtymeetings.com, discussed

above); (2) a statement by P.W. that he lost his phone in Illinois,

(which contradicted P.W.’s trial testimony that Defendant threw

P.W.’s phone off of a train in Michigan); and, (3) that P.W. sent sex-

ually explicit messages and child pornography to another individ-

ual. Finally, Defendant contends that certain other “cumulative”

errors deprived him of a fair trial.

     III. Standard of Review

     Defendant’s motion for a new trial is brought under Federal Rule
of Criminal Procedure 33. That rule provides:


        (a) Defendant’s Motion. Upon the defendant’s motion, the
     court may vacate any judgment and grant a new trial if the
     interest of justice so requires. If the case was tried without a
     jury, the court may take additional testimony and enter a new
     judgment.

        (b) Time to File.

        (1) Newly Discovered Evidence. Any motion for a new trial
        grounded on newly discovered evidence must be filed
        within 3 years after the verdict or finding of guilty. If an
        appeal is pending, the court may not grant a motion for a
        new trial until the appellate court remands the case.

        (2) Other Grounds. Any motion for a new trial grounded on
        any reason other than newly discovered evidence must be
        filed within 14 days after the verdict or finding of guilty.


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       The verdict in this case was delivered by the jury on June 22,

2017, and filed by the Clerk on June 23, 2017 (Dkt. 77). Defend-

ant’s motion for a new trial was not filed until November 15,

2017 (Dkt. 79).3 Thus, to the extent that Defendant’s motion for

a new trial is based on “other grounds” than newly discovered

evidence, it was filed well past the fourteen-day deadline. Rule

33(b)(2). Therefore, all of Defendant’s arguments concerning

matters outside of “newly discovered evidence,” are time-barred

and will not be discussed.4

       As to the “newly discovered” evidence, Defendant argues that

FBI SA India Jones’s reports are Brady material that the Gov-

ernment improperly suppressed. To successfully obtain a new

trial under Rule 33 based on newly discovered evidence the de-

fendant must show that the evidence: “(1) was discovered only

after trial, (2) could not have been discovered earlier with due


                                                            
3As previously noted, Defendant filed a corrected version of his motion for a
new trial on November 16, 2017 (Dkt. 83).

4 These arguments include the Government’s not calling every witness listed
on its initial witness list, and the Court’s permitting a break during P.W.’s
direct examination to allow other witnesses with scheduling conflicts to testify
(Dkt. 83 at 16-18), before returning to P.W.’s testimony. These arguments are
the basis of Defendant’s “cumulative error” argument.
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diligence, (3) is material and not merely cumulative or impeach-

ing, and (4) would likely produce an acquittal if the case were

retried.” United States v. Barlow, 693 F.2d 954, 966 (6th Cir.

1982).

     Similarly, under the Brady standard, a defendant must show,

among other things, that the undisclosed evidence was “mate-

rial” to his conviction or sentence. See Strickler v. Greene, 527

U.S. 263, 281–82, 119 S.Ct. 1936, 144 L.Ed.2d 286 (1999); Jones

v. Bagley, 696 F.3d 475, 486 (6th Cir. 2012). Undisclosed Brady

evidence is material “if there is a reasonable probability that,

had the evidence been disclosed to the defense, the result of the

proceeding would have been different.” United States v. Bagley,

473 U.S. 667, 682, 105 S.Ct. 3375, 87 L.Ed.2d 481 (1985). A “rea-

sonable probability” is a probability sufficient to undermine con-

fidence in the outcome. United States v. Hawkins, 969 F.2d 169,

175 (6th Cir. 1992). “The question is not whether the defendant

would more likely than not have received a different verdict with

the evidence, but whether in its absence he received a fair trial,

understood as a trial resulting in a verdict worthy of confidence.”


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Kyles v. Whitley, 514 U.S. 419, 434, 115 S.Ct. 1555, 131 L.Ed.2d

490 (1995). The materiality inquiry involves weighing “the value

of the undisclosed evidence relative to the other evidence pro-

duced by the state.” Eakes v. Sexton, 592 Fed. App’x. 422, 427

(6th Cir. 2014). “[W]here the undisclosed evidence merely fur-

nishes an additional basis on which to challenge a witness whose

credibility has already been shown to be questionable or who is

subject to extensive attack by reason of other evidence, the un-

disclosed evidence may be cumulative, and hence not material.”

Bales v. Bell, 788 F.3d 568, 574 (6th Cir. 2015) (internal quota-

tion marks omitted); see also Byrd v. Collins, 209 F.3d 486, 518

(6th Cir. 2000).

     “[T]he suppression by the prosecution of evidence favorable to

an accused ... violates due process where the evidence is material

either to guilt or to punishment, irrespective of the good faith or

bad faith of the prosecution.” Brady v. Maryland, 373 U.S. 83,

87, 83 S.Ct. 1194, 10 L.Ed.2d 215 (1963). The principles in Brady

have been extended to the disclosure of impeachment evidence




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in cases where the “reliability of a given witness may well be de-

terminative of guilt or innocence.” Giglio v. United States, 405

U.S. 150, 154, 92 S.Ct. 763, 31 L.Ed.2d 104 (1972) (internal quo-

tation marks omitted). To establish a violation of Brady, a de-

fendant “has the burden of showing that the Government sup-

pressed evidence, that such evidence was favorable to the de-

fense, and that the suppressed evidence was material.” United

States v. Graham, 484 F.3d 413, 417 (6th Cir. 2007). But there

is no Brady violation “if the defendant knew or should have

known the essential facts permitting him to take advantage of

the information ... or if the information was available to him from

another source.” Id. (internal quotation marks omitted).


     IV.   Analysis

     In his motion for a new trial, Defendant posits that his “theory

of the case was that, P.W. lied about his age and did not disclose it

until he was in Michigan and that Mr. Felton’s acts were ‘stupid.’”

Defendant argues that he would have been able to more effectively

cross-examine P.W. about his use of the website naughtymeet-

ings.com to first communicate with Defendant, had defense counsel




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known that P.W. and Defendant used this internet chat room.5

During oral argument on Defendant’s motion for a new trial, de-

fense counsel stated that this line of defense was primarily directed

to “the top count of the indictment” (Count 1 – transporting a minor

across state lines to engage in unlawful sexual activity).

       Defendant’s subjective belief as to P.W.’s age, however, is not a

valid defense to Count 1. Ignorance of the victim’s age provides no

safe harbor from the penalties in 18 U.S.C. § 2423(a). If someone

knowingly transports a person for the purposes of another sex of-

fense, the transporter assumes the risk that the victim is a minor,
regardless of what the victim says or how old the victim appears.

See United States v. Daniels, 653 F.3d 399, 410 (6th Cir. 2011). This

is likewise true of Defendant’s production of child pornography con-
victions, as “knowledge of the victim’s age is neither an element of

the offense nor textually available as an affirmative defense.”

United States v. Humphrey, 608 F.3d 955, 962 (6th Cir. 2010). As

such, the main premise of Defendant’s motion for a new trial is un-

founded, as Defendant’s knowledge, or lack thereof, of P.W.’s spe-

cific age is simply not material to Defendant’s guilt or innocence.

                                                            
5 While it is not entirely clear what line of questioning Defendant intended to
direct toward P.W. relating to his use of the “naughtymeetings.com” website,
it appears that Defendant may have been seeking to imply that, because P.W.
accessed an adult chat-room to communicate with Defendant in the first in-
stance, it was not unreasonable for Defendant to believe he was communi-
cating with an adult.
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      In any event, Defendant’s counsel thoroughly cross-examined

P.W. at trial, exploring issues as varied as P.W.’s admission that he

lied about his age, his access and use of adult-dating websites, and

his initial false statements to Defendant that he was 18 years old.

The jury appears to have credited P.W.’s testimony despite this

cross-examination, and nothing in the record suggests that conduct-

ing a new trial to include evidence of P.W.’s specific use of the web-

site naughtymeetings.com would produce an acquittal. Further-

more, the fact that P.W. communicated with Defendant over naugh-

tymeetings.com was disclosed in the affidavit attached to the com-
plaint in this matter (Dkt. 1). Thus, this specific information was

readily ascertainable—indeed, it was made part of the public docket

of the case—and there is no reason to believe that explicitly cross-
examining the victim about this chat-room would have made any

difference at trial when P.W. already admitted to misrepresenting

his age and using other adult-only sites. This ground offers no basis

for a new trial.

      Defendant’s remaining two specific areas of “newly discovered

evidence” raised in his motion for a new trial are: (1) that P.W. al-
legedly had sexually explicit conversations with, and sent nude pic-

tures (i.e., child pornography) of himself to another unidentified in-

dividual; and (2) that P.W. initially told the police that he “lost” his



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cell phone in Illinois.6 As to P.W.’s alleged sexual interactions with

others, this information likely would not even have been admissible

(see Fed. R. Evid. 412(a)), and is completely immaterial. Moreover,

even if such evidence were admissible, it would not have affected

the outcome of the trial because the fact that P.W. may have inter-

acted in a sexual manner with others online is not in any way pro-

bative of Defendant’s own guilt or innocence.

       As to P.W.’s prior inconsistent statements that he “lost” his cell

phone, they may have been able to be used to impeach P.W.’s trial

testimony to the effect that Defendant threw the phone off the train
when they were travelling together.                                              But undermining P.W.’s ac-

count of the fate of his cell phone would clearly not be enough to

shake the foundation of the jury’s verdict. During cross-examina-
tion, P.W. readily admitted that he lied to the police during his ini-

tial interviews, and that he gave inconsistent accounts (see, e.g.,

Dkt. 87, Tr. of P.W.’s trial testimony, Pg ID 776, lines 13-24) be-

cause he did not want to get Defendant in trouble. Proof of an ad-

ditional example where P.W. was shading the truth to protect the

Defendant would have been merely cumulative, and does not war-
rant a new trial.


                                                            
6 P.W. later testified at trial that Defendant threw P.W.’s cell phone off of a
train, because P.W. and Defendant thought that the police were tracking them
(Dkt. 87, Tr. of P.W. trial testimony, Pg ID 721, lines 9-19).
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      V.   Conclusion

      For the foregoing reasons, Defendant’s motion for a new trial

(Dkt. 83) is DENIED.


      SO ORDERED.


                                  s/Terrence G. Berg
                                  TERRENCE G. BERG
                                  UNITED STATES DISTRICT JUDGE

Dated: April 26, 2018




                            Certificate of Service
      I hereby certify that this Order was electronically submitted
on April 26, 2018, using the CM/ECF system, which will send noti-
fication to each party.


                                               s/A. Chubb
                                               Case Manager




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